         Case 1:20-cv-08092-NRB Document 39 Filed 11/09/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 KLAUBER BROTHER, INC.

               Plaintiff,

        -against-                               Civil Action No. 20-cv-8092 (NRB)

 HSN, INC., and GK TRADING, LLC




        PROPOSED ORDER GRANTING WITHDRAWAL OF APPEARANCE
                        OF KEVIN W. KIRSCH

       In accordance with Local Civil Rule 1.4, and upon consideration of the annexed affidavit,

Kevin W. Kirsch, of Baker & Hostetler LLP, is hereby withdrawn as counsel for Defendant

HSN, Inc.




SO ORDERED




Dated:      New York, New York
            November 9, 2020
